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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                            CASE NO. 17-20527-CR-BLOOM/VALLE

UNITED STATES OF AMERICA,

        Plaintiff,
v.

RENEL JUNIOR BAZILE,

      Defendant.
_______________________________/

                                     SEALED ORDER

        THIS CAUSE came before the Court sua sponte on review of the record. Being fully

advised, it is

        ORDERED AND ADJUDGED that the above named defendant in this case shall be

placed in FUGITIVE STATUS.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, this 31st day of

August, 2017.




                                                  _________________________________
                                                  BETH BLOOM
                                                  UNITED STATES DISTRICT JUDGE

cc:     counsel of record
        sealed clerk
